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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION                                                             ENTERED
                                                                                                                    06/07/2021
                                                                      )
    In re:                                                            ) Chapter 11
                                                                      )
    KATERRA INC., et al.,1                                            ) Case No. 21-31861 (DRJ)
                                                                      )
                              Debtors.                                )(Jointly Administered)
                                                                      )
                                                                      ) Re: Docket No. 21

                 INTERIM ORDER (I) AUTHORIZING
             DEBTORS TO PAY PREPETITION CLAIMS OF
   CERTAIN CRITICAL VENDORS AND LIEN CLAIMANTS, (II) GRANTING
ADMINISTRATIVE EXPENSE PRIORITY TO ALL UNDISPUTED OBLIGATIONS ON
ACCOUNT OF OUTSTANDING ORDERS, AND (III) GRANTING RELATED RELIEF

                                                  2
             Upon the motion (the “Motion”) of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an interim order (this “Interim Order”) (a) authorizing,

but not directing, the Debtors to pay, in the ordinary course of business, prepetition amounts owing

on account of (i) Critical Vendor Claims in an aggregate amount of up to $500,000 on an interim

basis and (ii) Lien Claims in an aggregate amount up to $1.0 million on an interim basis,

(b) granting administrative expense priority to all undisputed obligations on account of goods

ordered by the Debtors prior to the Petition Date that will not be delivered until after the Petition

Date and authorizing the Debtors to satisfy such obligations in the ordinary course of business,

and (c) granting related relief, all as more fully set forth in the Motion; and upon the First Day

Declaration; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §1334; and



1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://cases.primeclerk.com/katerra. The location of Debtor Katerra Inc.’s
      principal place of business and the Debtors’ service address in these chapter 11 cases is 9305 East Via de Ventura,
      Scottsdale, Arizona 85258..
2     Capitalized terms used but not defined herein have the meanings given to such terms in the Motion.
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this Court having found that this is a core proceeding pursuant to 28 U.S.C. §157(b); and this Court

having found that venue of this proceeding and the Motion in this district is proper pursuant to

28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in the Motion

is in the best interests of the Debtors’ estates, their creditors, and other parties in interest; and this

Court having found that the Debtors’ notice of the Motion and opportunity for a hearing on the

Motion were appropriate under the circumstances and no other notice need be provided; and this

Court having reviewed the Motion and having heard the statements in support of the relief

requested therein at a hearing before this Court (the “Hearing”); and this Court having determined

that the legal and factual bases set forth in the Motion and at the Hearing establish just cause for

the relief granted herein; and upon all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

        1.      The final hearing (the “Final Hearing”) on the Motion shall be held on July 12,

2021, at 2:00 p.m., prevailing Eastern Time. Any objections or responses to entry of a final order

on the Motion shall be filed on or before 4:00 p.m., prevailing Central Time, on July 7, 2021. In

the event no objections to entry of the Final Order on the Motion are timely received, this Court

may enter such Final Order without need for the Final Hearing.

        2.      The Debtors are authorized in the reasonable exercise of their business judgment,

to pay all or part of, and discharge, on a case-by-case basis, the Critical Vendor Claims in an

aggregate amount not to exceed $500,000 on an interim basis, absent further order of the Court.

In the event the Debtors will exceed the aggregate amount of interim relief, as detailed in the

Motion, the Debtors shall file a notice with the Court describing the category and overage amount.

        3.      The Debtors are authorized, but not directed, in the reasonable exercise of their

business judgment, to pay all or part of, and discharge, on a case-by-case basis, the Lien Claims in


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an aggregate amount not to exceed $1.0 million on an interim basis, absent further order of the

Court. In the event the Debtors will exceed the aggregate amount of interim relief, as detailed in

the Motion, the Debtors shall file a notice with the Court describing the category and overage

amount.

        4.      All undisputed obligations related to the Outstanding Orders are granted

administrative expense priority in accordance with section 503(b)(1)(A) of the Bankruptcy Code.

        5.      The Debtors are authorized, but not directed, to pay all undisputed amounts relating

to the Outstanding Orders in the ordinary course of business consistent with the parties’ customary

practices in effect prior to the Petition Date.

        6.      As a condition to receiving payment hereunder, the Debtors at their discretion may

require, by written agreement, such parties to continue supplying goods or services to the Debtors

in accordance with trade terms at least as favorable to the Debtors as those practices and programs

(including credit limits, pricing, cash discounts, timing of payments, allowances, product mix,

availability, and other programs) consistent with the parties’ ordinary course practice (collectively,

the “Customary Trade Terms”). The Debtors reserve the right to require more favorable trade

terms with any party as a condition to payment of any prepetition claim. The form of Trade

Agreement, substantially in the form attached to the Motion as Exhibit A, is approved in its

entirety. The Debtors are authorized to enter into any such Trade Agreements on an interim basis.

        7.      If any party accepts payment hereunder for a prepetition obligation of the Debtors

premised on compliance with the above, and thereafter fails to comply with the Customary Trade

Terms, or other such terms as agreed to by the Debtors, then, subject to entry of a final order on

the Motion from this Court: (a) any payment on account of a prepetition claim received by such

party shall be deemed, in the Debtors’ sole discretion, an improper postpetition transfer and,


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therefore, immediately recoverable by the Debtors in cash upon written request by the Debtors;

(b) upon recovery by the Debtors, any prepetition claim of such party shall be reinstated as if the

payment had not been made; and (c) if there exists an outstanding postpetition balance due from

the Debtors to such party, the Debtors may elect to re-characterize and apply any payment made

pursuant to the relief requested by the Motion to such outstanding postpetition balance and such

supplier or vendor will be required to repay to the Debtors such paid amounts that exceed the

postpetition obligations then outstanding, without the right of any setoffs, claims, provisions for

payment of any claims, or otherwise.

       8.      Any Critical Vendor or Lien Claimant that accepts payment from the Debtors on

account of all or a portion of such party’s claim pursuant to this Interim Order shall be deemed to

(a) agree to the terms and provisions of this Interim Order and (b) have waived, to the extent so

paid, Critical Vendor Claims or Lien Claims of any type, kind, or priority (including any

reclamation claim), against the Debtors, their assets, and properties.

       9.      The Debtors shall maintain a matrix or schedule of amounts paid to the Critical

Vendor Claimants subject to the terms and conditions of this Interim Order, including the

following information: (a) the amount, category, and type of payment, as further described and

classified in the Motion; and (b) the Debtor or Debtors that made the payment. The Debtors shall

provide a copy of such matrix or schedule to the U.S. Trustee, any statutory committee appointed

in these chapter 11 cases, and counsel to the DIP Lender every 30 days beginning upon entry of

this Interim Order or upon request by any of the foregoing parties.

       10.     Nothing herein shall impair or prejudice the Debtors’ ability to contest, in their sole

discretion, the extent, perfection, priority, validity, or amounts of any claims held by any

Critical Vendor or Lien Claimant. The Debtors do not concede that any claims satisfied pursuant


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to this Interim Order are valid, and the Debtors expressly reserve all rights to contest the extent,

validity, or perfection, or to seek the avoidance of all such liens or the priority, of such claims.

       11.     Notwithstanding the foregoing, prior to entry of an order granting the relief

requested in the Motion on a final basis, the Debtors are not authorized to pay any prepetition

amounts on account of Lien Claims before the applicable due dates of such claims.

       12.     This Interim Order permits the use of cash only to the extent authorized under this

Court’s applicable orders authorizing debtor-in-possession financing, including the Budget (as

defined therein) (the “DIP Orders”). In the event of any inconsistency between this Interim Order

and the DIP Orders, the DIP Orders shall control.

       13.     Notwithstanding the relief granted in this Interim Order and any actions taken

pursuant to such relief, nothing in this Interim Order shall be deemed: (a) an admission as to the

validity, priority, or amount of any particular claim against a Debtor entity; (b) a waiver of the

Debtors’ or any other party-in-interest’s right to dispute any particular claim on any grounds;

(c) a promise or requirement to pay any particular claim; (d) an implication or admission that any

particular claim is of a type specified or defined in this Interim Order or the Motion; (e) a request

or authorization to assume any prepetition agreement, contract, or lease pursuant to section 365 of

the Bankruptcy Code; (f) a waiver or limitation of the Debtors’ rights or the rights of any other

party-in-interest under the Bankruptcy Code or any other applicable law; or (g) a concession by

the Debtors or any other party in interest that any liens (contractual, common law, statutory, or

otherwise) satisfied pursuant to the Motion are valid, and the Debtors or any other party-in-interest

expressly reserve their rights to contest the extent, validity, or perfection or seek avoidance of all

such liens. Any payment made pursuant to this Interim Order should not be construed as an




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admission as to the validity, priority, or amount of any particular claim or a waiver of the Debtors’

or any other party-in-interest’s rights to subsequently dispute such claim.

       14.      The banks and financial institutions on which checks were drawn or electronic

payment requests made in payment of the prepetition obligations approved herein are authorized

to receive, process, honor, and pay all such checks and electronic payment requests when presented

for payment, and all such banks and financial institutions are authorized to rely on the Debtors’

designation of any particular check or electronic payment request as approved by this

Interim Order without any duty of further inquiry and without liability for following the Debtors’

instructions.

       15.      The Debtors are authorized to issue postpetition checks, or to effect postpetition

fund transfer requests, in replacement of any checks or fund transfer requests that are dishonored

as a consequence of these chapter 11 cases with respect to prepetition amounts owed in connection

with any Critical Vendor Claims and Lien Claims.

       16.      The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

       17.      Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

       18.      Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Interim

Order are immediately effective and enforceable upon its entry.




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       19.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Interim Order in accordance with the Motion.

       20.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Interim Order.


 Houston,
  Signed:Texas
           June 07, 2021.
 Dated: ___________, 2021
                                                ____________________________________
                                                  UNITED
                                                DAVID     STATES BANKRUPTCY JUDGE
                                                      R. JONES
                                                UNITED STATES BANKRUPTCY JUDGE




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